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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )          8:06CR288
                                           )
             Plaintiff,                    )
                                           )          ORDER
v.                                         )
                                           )
DENISE GARVIN,                             )
                                           )
             Defendant.                    )



      UPON THE ORAL MOTION OF THE DEFENDANT and no objection from the
government,

       IT IS ORDERED that the Change of Plea hearing is continued to January 18,
2007 at 3:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between January 3, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 3rd day of January, 2007.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
